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Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

 

 

 

 

UNITED STATES OF AMERICA, NO. CR 14~499-PA
Plaintiff, PLEA AGREEMENT
v.
XILIN CHEN,
Defendant.
1. This constitutes the plea agreement between Xilin Chen

(“defendant”) and the United States Attorney's 0ffice for the Central
District of California (“the USAO”) in the above~captioned case.
This agreement is limited to the USAO and cannot bind any other
federal, state, local, or foreign prosecuting, enforcement,
administrative, or regulatory authorities.

2. Defendant understands and agrees that this Agreement is
part of a “package deal” in Which the disposition of the case against

defendant is tied to and conditioned on the disposition of cases

 

 

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against the two other defendants, namely, Chuang Feng Chen and Aixia
Chen. Accordingly, defendant and the USAO agree that this Agreement
and the obligations it creates will not become binding on the USAO
and defendant unless and until by no later than May 29, 2015 or the
earliest date set by the Court for entry of the guilty pleas: (a)
defendant executes this Agreement and enters guilty pleas in
accordance with this Agreement; and (b) Chuang Feng Chen and Aixia
Chen each execute their plea and/or civil agreements with the USAO
and enter guilty pleas and/or other obligations in accordance with
those agreements. Defendant acknowledges that defendant has
discussed with defendant's attorney, and carefully considered, the
possible advantages and disadvantages to defendant of entering into
this Agreement as part of the package deal; defendant is entering
into this Agreement as part of the package deal freely and
voluntarily because defendant believes this Agreement and the package
deal to be in defendant's best interests; and defendant is not
entering into this Agreement as part of the package deal because of
threats, coercion, or other undue influence by the USAO or by the
other defendants who are part of the package deal, their counsel, or
anyone acting on their behalf.

DEFENDANT'S OBLIGATIONS

 

3. Defendant agrees to:

a. Give up the right to indictment by a grand jury and,
at the earliest opportunity requested by the USAO and provided by the
Court, appear and plead guilty to each count of a three-Count
information in the form attached to this Agreement as Exhibit A or a
substantially similar form, which charges defendant with the Passing
False Papers Through Customhouse in violation of 18 U.S.C. § 545;

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Conspiracy to Launder Monetary Instruments in violation of 18 U.S.C.
§ 1956(h); and Unlawful Procurement of Citizenship in violation of 18
U.S.C. § 1425.

b. Not contest facts agreed to in this agreement.

c. Abide by all agreements regarding sentencing contained
in this agreement.

d. Appear for all court appearances, surrender as ordered
for service of sentence, obey all conditions of any bond, and obey
any other ongoing court order in this matter.

e. Not commit any crime; however, offenses that would be
excluded for sentencing purposes under United States Sentencing
Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not
within the scope of this agreement.

f. Be truthful at all times with Pretrial Services, the
United States Probation Office, and the Court.

g. Pay the applicable special assessment at or before the
time of sentencing unless defendant lacks the ability to pay and
prior to sentencing submits a completed financial statement on a form
to be provided by the USAO.

FORFEITURE AND FINANCIAL ACCOUNTABILITY
4. Defendant further agrees:

a. Truthfully to disclose to law enforcement officials,
at a date and time to be set by the USAO, the location of,
defendant's ownership interest in, and all other information known to
defendant about, all monies, properties, and/or assets of any kind,
derived from or acquired as a result of, or used to facilitate the
commission of, defendant's illegal activities, and to forfeit all
right, title, and interest in and to such items, specifically

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including all right, title, and interest in and to all United States
currency, property and assets, including but not limited to the
following assets which defendant admits constitute, and are derived
from, the proceeds of defendant's illegal conspiracy to violate 18
U.S.C. § 545:

i. Proceeds from the sale of Real property located
at 423 Stanford Ave., Los Angeles, California 90013-2120, Assessor's
Parcel No. 5147-010-028, more particularly described as:

LOt 32, 33, 34, 35 and 36 in Block 10 Of the WOlfSkill
0rchard Tract, in the City of Los Angeles, County of Los
Angeles, State of California, as per map recorded in Book
30 Page 9 et seq., of Miscellaneous Records in the office
of the County Recorder of said County.

ii. Proceeds from the sale of Real property located
at 5937 Loma Ave., Temple City, California 91780~1924, Assessor's
Parcel No. 5384-014-027, more particularly described as:

Lot 354 of Tract 5904, in the City of TEMPLE CITY, County
of Los Angeles, State of California, as per Map recorded in
Book 80, Pages 74 and 75 of Maps, in the Office of the
County Recorder of said County.

iii. Proceeds from the sale of Real property located
at 10521 Freer St., Temple City, California 91780~3446, Assessor's
Parcel No. 8585-021~052, more particularly described as:

Parcel 1 of Parcel Map No. 61450, in the City of TEMPLE
CITY, County of Los Angeles, State of California, as per
Map recorded in Book 365, Pages 22 and 23 of Parcel Maps,
in the Office of the County Recorder of said County.

iv. Approximately $358,832 52 in Bank Funds seized on

or about September 10, 2014, from Bank of America;

v. Approximately $3,200.00 in United States Currency
seized on or about September 10, 2014, from 5937 Loma Ave., Temple

City, California 91780-1924; and

 

 

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vi. Approximately $74,202.00 in United States
Currency seized on or about September 10, 2014, from 423 Stanford
Ave., Los Angeles, California 90013-2120.

b. To the Court's entry of an order of forfeiture at or
before sentencing with respect to these assets and to the forfeiture
of the assets,

c. To take whatever steps are necessary to pass to the
United States clear title to the assets described above, including,
without limitation, the execution of a consent decree of forfeiture
and the completing of any other legal documents required for the
transfer of title to the United States.

d. Not to contest any administrative forfeiture
proceedings or civil judicial proceedings, pursuant to 18 U.S.C. §§
981, 982, and 21 U.S.C. § 853(p), or other relevant statute,
commenced against any of the assets specifically described herein, or
against any other assets or properties defendant discloses as a
result of his obligation to disclose all assets described herein,
With respect to any criminal forfeiture ordered as a result of this
plea agreement, defendant waives the requirements of Federal Rules of
Criminal Procedure 32.2 and 43(a) regarding notice of the forfeiture
in the charging instrument, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment.
Defendant acknowledges that any criminal forfeiture of assets is part
of the sentence that may be imposed in this case and waives any
failure by the Court to advise defendant of this, pursuant to Federal
Rule of Criminal Procedure ll(b)(l)(J), at the time the Court accepts

defendant's guilty plea.

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e. Not to assist any other individual in any effort
falsely to contest the forfeiture of the assets described above.

f. Not to claim that reasonable cause to seize the assets
was lacking.

g. To prevent the transfer, sale, destruction, or loss of
any and all assets described above to the extent defendant has the
ability to do so.

h. To fill out and deliver to the USAO a completed
financial statement listing defendant's assets on a form provided by
the USAO.

i. That forfeiture of assets described above shall not be
counted toward satisfaction of any special assessment, fine,
restitution, costs, or other penalty the Court may impose. However,
should any restitution ever be required of defendant as a result of
the conduct described herein, the government agrees to recommend that
such restitution be offset to the same extent as the forfeiture

ordered at sentencing.

THE USAO’S OBLIGATIONS

5. The USAO agrees to:
a. Not contest facts agreed to in this agreement.
b. Abide by all agreements regarding sentencing contained

in this agreement.

c. At the time of sentencing, move to dismiss the
remaining indictment in United States v. Chuang Feng Chen, et al., CR
No. 14-499-PA, as against defendant. Defendant agrees, however, that
at the time of sentencing the Court may consider any dismissed

charges in determining the applicable Sentencing Guidelines range,

 

 

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the propriety and extent of any departure from that range, and the
sentence to be imposed.

d. At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up to
and including the time of sentencing, recommend a two-level reduction
in the applicable Sentencing Guidelines offense level, pursuant to
U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an
additional one-level reduction if available under that section.

e. Except for criminal tax violations (including
conspiracy to commit such violations chargeable under 18 U.S.C. §
371), not further criminally prosecute defendant for violations of 18
U.S.C. §§ 541, 542, 545, or 1956 arising out of defendant/s conduct
described in the agreed-to factual basis set forth in paragraph 15
below. Defendant understands that the USAO is free to criminally
prosecute defendant for any other unlawful past conduct or any
unlawful conduct that occurs after the date of this agreement.
Defendant agrees that at the time of sentencing the Court may
consider the uncharged conduct in determining the applicable
Sentencing Guidelines range, the propriety and extent of any
departure from that range, and the sentence to be imposed after
consideration of the Sentencing Guidelines and all other relevant
factors under 18 U.S.C. § 3553(a).

f. If the guidelines range recommended by the USAO at the
time of sentencing is within or below Zone C, recommend that
defendant be sentenced to no term of imprisonment, although the USAO

may seek a term of home confinement of up to 12 months.

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NATURE OF THE OFFENSE

 

6. Defendant understands that for defendant to be guilty of
the crime charged in count one of the information, that is, Passing
False Papers Through Customhouse in violation of 18 U.S.C. § 545, the
following must be true:

a. Defendant knowingly caused to be passed a false
Customs and Border Protection Form 7501 Entry Summary (“Form 7501”)
through a customhouse of the United States;

b. Defendant knew that the Form 7501 was false;

c. Defendant acted willfully with intent to defraud the
United States; and

d. The false Form 7501 caused to be submitted by
defendant had a natural tendency to influence, or was capable of
influencing, action by the United States.

7. Defendant understands that for defendant to be guilty of
the crime charged in count two of the information, that is Conspiracy
to Launder Monetary Instruments, in violation of 18 U.S.C. § 1956(h),
the following must be true:

a. First, beginning on or before September 24, 2012, and
continuing until on or about September 10, 2013, there was an
agreement between defendant and one or more other persons to launder
monetary instruments, in violation of 18 U.S.C. § 1956(a)(1)(B)(i);

b. Second, the defendant joined in the agreement knowing
of its purpose and intending to help accomplish that purpose.

8. Defendant understands that the elements of laundering
monetary instruments, in violation of 18 U.S.C. § 1956(a)(1)(B)(i)
are:

a. First, defendant conducted or intended to conduct a

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financial transaction involving property that represented the
proceeds of specified unlawful activity, specifically, Passing False
Papers Through Customhouse, in violation of 18 U.S.C. § 545, or
Distribution of Controlled Substances, in violation of 21 U.S.C.

§ 841;

b. Second, defendant knew that the property involved in
the financial transaction represented the proceeds of activity that
constitutes a felony under State, Federal, or foreign law; and

c. Third, defendant knew that the transaction was
designed in whole or in part to conceal or disguise the nature,
location, source, ownership, or control of the proceeds of specified
unlawful activity,

9. Defendant further understands that he also can be found
guilty of the crime charged in count two of the information, that is
Conspiracy to Launder Monetary Instruments, in violation of 18 U.S.C.
§ 1956(h), if defendant acted with deliberate ignorance with respect
to the source of the proceeds, namely that:

a. First, defendant was aware of a high probability that
the source of the bulk cash he received was proceeds of some form of
felonious unlawful activity, for example, drug trafficking; and

b. Second, deliberately avoided learning the truth

10. Defendant understands that for defendant to be guilty of
the crime charged in count three of the information, that is, the
Unlawful Procurement of Citizenship in violation of 18 U.S.C. § 1425,
the following must be true:

a. Defendant knowingly procured naturalization;

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b. Defendant knowingly made a misrepresentation on, or
omitted material information from, his naturalization application;
and

c. Defendant's misrepresentation or omission was
material.

PENALTIES
11. Defendant understands the following:

a. The statutory maximum sentence that the Court can
impose for a violation of Title 18, United States Code, Section 545,
is 20 years’ imprisonment, a 3-year period of supervised release, a
fine of $250,000.00 or twice the gross gain or gross loss resulting
from the offense, whichever is greatest, and a mandatory special
assessment of $100;

b. The statutory maximum sentence that the Court can
impose for a violation of Title 18, United States Code, Section 1956,
is 10 years’ imprisonment, a 3-year period of supervised release, a
fine of $250,000.00 or twice the gross gain or gross loss resulting
from the offense, whichever is greatest, and a mandatory special
assessment of $100; and

c. The statutory maximum sentence that the Court can
impose for a violation of Title 18, United States Code, Section 1425
is 20 years’ imprisonment, a 3-year period of supervised release, a
fine of $250,000.00 or twice the gross gain or gross loss resulting
from the offense, whichever is greatest, and a mandatory special
assessment of $100.

12. Defendant understands, therefore, that the total maximum
sentence for all offenses to which defendant is pleading guilty is:
50 years’ imprisonment; a 3-year period of supervised release; a fine

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of $750,000.00 or twice the gross gain or gross loss resulting from
the offenses, whichever is greatest; and a mandatory special
assessment of $100.

13. Certain assets, as described above, or substitute assets up
to the value of such assets, will be subject to criminal forfeiture,
administrative forfeiture proceedings, or civil judicial proceedings,
pursuant to 18 U.S.C. §§ 981, 982, and 21 U.S.C. § 853(p), or other
relevant statute

14. Defendant understands that supervised release is a period
of time following imprisonment during which defendant will be subject
to various restrictions and requirements. Defendant understands that
if defendant violates one or more of the conditions of any supervised
release imposed, defendant may be returned to prison for all or part
of the term of supervised release authorized by statute for the
offense that resulted in the term of supervised release, which could
result in defendant serving a total term of imprisonment greater than
the statutory maximum stated above.

15. Defendant understands that, by pleading guilty, defendant
may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to serve on a jury.

Defendant understands that once the court accepts defendant's guilty
plea, it will be a federal felony for defendant to possess a firearm
or ammunition. Defendant understands that the conviction in this
case may also subject defendant to various other collateral
consequences, including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or
revocation of a professional license. Defendant understands that

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unanticipated collateral consequences will not serve as grounds to
withdraw defendant's guilty plea.

16. Defendant understands that the felony convictions in this
case may subject defendant to: removal, also known as deportation,
which may, under some circumstances, be mandatory; denial of
citizenship; and denial of admission to the United States in the
future. The court cannot, and defendant's attorney also may not be
able to, advise defendant fully regarding the immigration
consequences of the felony conviction in this case. Defendant
understands that unexpected immigration consequences will not serve
as grounds to withdraw defendant's guilty plea.

FACTUAL BASIS

417. Defendant admits that defendant is, in fact, guilty of the
offense to which defendant is agreeing to plead guilty, Defendant
and the USAO agree to the statement of facts provided below and agree
that this statement of facts is sufficient to support a plea of
guilty to the charge described in this agreement and to establish the
Sentencing Guidelines factors set forth in paragraph 16 below but is
not meant to be a complete recitation of all facts relevant to the
underlying criminal conduct or all facts known to either party that
relate to that conduct.

18 U.S.C. § 545

On or about September 24, 2012, in Los Angeles, California,
defendant, intending to defraud the United States, knowingly made out
and submitted to a customhouse of the United States a false Customs
and Border Protection Form 7501 Entry Summary (“Form 7501”) that
stated the total value of merchandise imported from the People's
Republic of China (“China”) to be approximately $86,635 OO, while in

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truth and fact, as defendant well knew, the actual value of the
imported merchandise was approximately $175,535.56. By submitting
this false Form 7501 to the United States customhouse, defendant
intended to cause, and did cause, the imported merchandise to be
released into the commerce of the United States on or about September
27, 2012,

18 U.S.C. § 1956(h)

Beginning on a date prior to September 24, 2012, and continuing
through on or about September 10, 2014, in Los Angeles County,
California, and elsewhere, defendant and at least one other
individual agreed to engage in the following criminal scheme:
defendant and others acting in concert with defendant would
intentionally defraud the United States by submitting to United
States customhouses false Customs and Border Protection Form 7501
Entry Summaries that undervalued the merchandise imported into the
United States in order to defraud the United States out of the proper
duty owed on such imported merchandise. Once defendant and others
acting in concert with defendant paid less than the proper import
duty on imported merchandise, the merchandise would be sold from
wholesale businesses owned or controlled by defendant and his co-
conspirators. Because defendant and his co-conspirators had
defrauded the United States out of the proper duty owed, such
imported merchandise would be sold at prices below that at which the
merchandise would have sold had defendant paid the true and correct
duty owed, Following these sales, defendant, and others acting in
concert with defendant, intending to conceal and disguise the nature,
source, and control of the proceeds of their fraudulent scheme, would
then deposit into several federally insured financial institutions

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the proceeds of these sales, Thereafter, further intending to
conceal and disguise the nature, source, and control of the proceeds
of their fraudulent scheme, defendant and his co-conspirators would
electronically wire-transfer to China some or all of the proceeds
that they had deposited into their accounts at the financial
institutions. Further intending to conceal the nature, source, and
control of the proceeds of their fraudulent scheme, and in order to
perpetuate their fraudulent scheme, defendant and his co-conspirators
would use portions of the proceeds from their fraudulent scheme to
purchase additional merchandise in China, which they would then
import into the United States using the same duty undervaluation
scheme.

On three separate occasions, an undercover agent met with
defendant while the undercover agent posed as an individual seeking
to use the proceeds of narcotics trafficking to purchase merchandise
from defendant for shipment to Mexico. Acting in this undercover
capacity on these three occasions, the agent used large sums of cash
to make purchases from defendant, represented that only cash could be
used for the purchases, brought the cash used for the transactions
packaged in plastic-wrap and concealed in duffle bags, and the agent
accepted from defendant multiple invoices for each transaction.

On September 18, 2013, the date of the third and final
transaction, defendant agreed to sell $10,625 worth of merchandise to
the undercover agent. On this occasion, notwithstanding that
defendant had no role in actually handling or dealing in narcotics,
defendant knew of sufficient indicia of unlawful activity in and
around defendant's place of business such that defendant was aware,
or should have been aware, of a high probability that defendant's

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transaction with the undercover agent related to the proceeds of
narcotics trafficking. Being aware of these indicia and this high
probability, defendant should have known that the cash used to
purchase the merchandise was the proceeds of narcotics trafficking,
but defendant deliberately avoided asking questions or confirming the
truth. In completing this transaction with the undercover agent, and
to conceal the source, ownership, and control of the $10,625 in cash,
defendant agreed and directed another to write two invoices for the
undercover agent, each for under $10,000.

18 U.S.C. § 1425

0n or about November 20, 2012, in Los Angeles County, defendant
knowingly procured and attempted to procure, contrary to law, his
United States citizenship naturalization, by making the following
false material statement, which he knew to be false when made: that
defendant had never committed a crime or offense for which he had not
been arrested, when, in fact, as defendant well knew, he had
committed such a crime and offense, including, Conspiracy to Launder
Monetary Instruments, in violation of 18 U.S.C. § 1956(h), and the
Passing False Papers Through Customhouse, in violation of 18 U.S.C.
§ 545.

SENTENCING FACTORS

18. Defendant understands that in determining defendant's
sentence the Court is required to calculate the applicable Sentencing
Guidelines range and to consider that range, possible departures
under the Sentencing Guidelines, and the other sentencing factors set
forth in 18 U.S.C. § 3553(a). Defendant understands that the
Sentencing Guidelines are advisory only, that defendant cannot have
any expectation of receiving a sentence within the calculated

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Sentencing Guidelines range, and that after considering the
Sentencing Guidelines and the other § 3553(a) factors, the Court will
be free to exercise its discretion to impose any sentence it finds
appropriate up to the maximum set by statute for the crime of
conviction.

19. Defendant and the USAO agree to the following applicable
Sentencing Guidelines factors:

Count 1; 18 U.S.C. § 545

Base Offense Level:
[Loss Amount Greater

Than $80,000.00] [16] [U.S.S.G. §§ 2T3.l,,2T4.1(F)]
Acceptance of Responsibility: [-3] [U.S.S.G. § 3E1.1(a),(b)]
Total Offense Level: [13]

Count 2: 18 U.S.C. § 1956(h)

For laundering of proceeds of violations of 18 U.S.C. § 545:

Base Offense Level: [16] [U.S.S.G. §2 S1.1(a)(1)]
Convicted Under § 1956 [+2] [U.S.S.G. §2 Sl.l(b)(Z)(B)]

Acceptance of Responsibility: [-3] [U.S.S.G. § 3E1.1(b)]

Total 0ffense Level: [15]

For laundering of proceeds of violations of 21 U.S.C. § 841
Base offense Level;' [12] [U.s.s.G. § 2s1.1(a) <2)]

Believed proceeds from
trafficking of controlled

substance [+6] [U.S.S.G. § 281.1(b)(1)
Convicted Under § 1956 [+2] [U.S.S.G. § 281.1(b)(2)(B)]
Acceptance of Responsibility: [-3] [U.S.S.G. § 3E1.1(b)]
Total Offense Level: [17]

Count 3: 18 U.S.C. § 1425

Base Offense Level: [11] [U.S.S.G. §2L2.1(a)]
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Not for PrOfit [-3] [U.S.S.G. §2L2.1(b)]
Acceptance of Responsibility: [-2] [U.S.S.G. §3El.1(a)]
Total Offense Level: [6]

The USAO will agree to a two-level downward adjustment for
acceptance of responsibility (and, if applicable, move for an
additional one-level downward adjustment under U.S.S.G. § 3E1.1(b))
only if the conditions set forth in paragraph 5(d) are met. Subject
to paragraph 30 below, the USAO agrees not to seek, argue, or suggest
in any way, either orally or in writing, that any other specific
offense characteristics, adjustments, or departures relating to the
offense level be imposed. Defendant agrees, however, that if, after
signing this agreement but prior to sentencing, defendant were to
commit an act, or the USAO were to discover a previously undiscovered
act committed by defendant prior to signing this agreement, which
act, in the judgment of the USAO, constituted obstruction of justice
within the meaning of U.S.S.G. § 3Cl.1, the USAO would be free to
seek the enhancement set forth in that section. Defendant
understands that there is no agreement as to defendant's criminal
history or criminal history category.

20, Defendant and the USAO reserve the right to argue for a
sentence outside the sentencing range established by the Sentencing
Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
(a) (2) , (a) (3), (a) (6), and (a) (7),

WAIVER’OF CONSTITUTIONAL RIGHTS

21. Defendant understands that by pleading guilty, defendant
gives up the following rights:

a. The right to persist in a plea of not guilty.
b. The right to a speedy and public trial by jury.

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c. The right to be represented by counsel - and if
necessary have the court appoint counsel - at trial. Defendant
understands, however, that, defendant retains the right to be
represented by counsel - and if necessary have the court appoint
counsel - at every other stage of the proceeding.

d. The right to be presumed innocent and to have the
burden of proof placed on the government to prove defendant guilty
beyond a reasonable doubt.

e. The right to confront and cross-examine witnesses
against defendant.

f. The right to testify and to present evidence in
opposition to the charges, including the right to compel the
attendance of witnesses to testify. l

g. The right not to be compelled to testify, and, if
defendant chose not to testify or present evidence, to have that
choice not be used against defendant.

h. Any and all rights to pursue any affirmative defenses,
Fourth Amendment or Fifth Amendment claims, and other pretrial
motions that have been filed or could be filed.

WAIVER OF APPEAL OF CONVICTION

22. Defendant understands that, with the exception of an appeal
based on a claim that defendant's guilty plea was involuntary, by
pleading guilty defendant is waiving and giving up any right to
appeal defendant's conviction on the offense to which defendant is
pleading guilty.

LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

23. Defendant agrees that, provided the Court imposes no term

of imprisonment and no more than 12 months' home confinement,

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defendant gives up the right to appeal all of the following: (a) the
procedures and calculations used to determine and impose any portion
of the sentence; (b) the term of imprisonment imposed by the Court;
(c) the fine imposed by the court, provided it is within the
statutory maximum; (d) the term of probation or supervised release
imposed by the Court, provided it is within the statutory maximum;
and (e) any of the following conditions of probation or supervised
release imposed by the Court: the conditions set forth in General
0rders 318, 01-05, and/or 05-02 of this Court; the drug testing
conditions mandated by 18 U.S.Cl §§ 3563(a)(5) and 3583(d); and the
alcohol and drug use conditions authorized by 18 U.S.C. § 3563(b)(7).

24. The USAO agrees that, provided all portions of the sentence
are at or below the statutory maximum specified above, the USAO gives
up its right to appeal any portion of the sentence.

RESULT OF WITHDRAWAL OF GUILTY PLEA

25. Defendant agrees that if, after entering a guilty plea
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing defendant's guilty plea on any basis other than a
claim and finding that entry into this plea agreement was
involuntary, then (a) the USAO will be relieved of all of its
obligations under this agreement, and (b) should the USAO choose to
pursue any charge that Was either dismissed or not filed as a result
of this agreement, then (i) any applicable statute of limitations
will be tolled between the date of defendant's signing of this
agreement and the filing commencing any such action; and
(ii) defendant waives and gives up all defenses based on the statute
of limitations, any claim of pre-indictment delay, or any speedy
trial claim with respect to any such action, except to the extent

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that such defenses existed as of the date of defendant's signing this

agreement.
EFFECTIVE DATE OF AGREEMENT
26. This agreement is effective upon signature and execution of
all required certifications by defendant, defendant's counsel, and an
Assistant United States Attorney.

BREACH OF AGREEMENT

 

27. Defendant agrees that if defendant, at any time after the
signature of this agreement and execution of all required
certifications by defendant, defendant's counsel, and an Assistant
United States Attorney, knowingly violates or fails to perform any of
defendant's obligations under this agreement (“a breach”), the USAO
may declare this agreement breached. All of defendant's obligations
are material, a single breach of this agreement is sufficient for the
USAO to declare a breach, and defendant shall not be deemed to have
cured a breach without the express agreement of the USAO in writing,
If the USAO declares this agreement breached, and the Court finds
such a breach to have occurredj then: (a) if defendant has previously
entered a guilty plea pursuant to this agreement, defendant will not
be able to withdraw the guilty plea, and (b) the USAO will be
relieved of all its obligations under this agreement.

28. Following the Court's finding of a knowing breach of this
agreement by defendant, should the USAO choose to pursue any charge
that was either dismissed or not filed as a result of this agreement,
then:

a. Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant's signing of this
agreement and the filing commencing any such action.

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b. Defendant waives and gives up all defenses based on
the statute of limitations, any claim of pre-indictment delay, or any
speedy trial claim with respect to any such action, except to the
extent that such defenses existed as of the date of defendant's
signing this agreement.

RESULT OF VACATUR, REVERSAL OR SET-ASIDE

29. Defendant agrees that if the count of conviction is
vacated, reversed, or set aside, both the USAO and defendant will be
released from all their obligations under this agreement.

COURT AND PROBATION OFFICE NOT PARTIES

30. Defendant understands that the Court and the United States
Probation Office are not parties to this agreement and need not
accept any of the USAO's sentencing recommendations or the parties'
agreements to facts or sentencing factors,

31. Defendant understands that both defendant and the USAO are
free to: (a) supplement the facts by supplying relevant information
to the United States Probation Office and the Court, (b) correct any
and all factual misstatements relating to the Court's Sentencing
Guidelines calculations and determination of sentence, and (c) argue
on appeal and collateral review that the Court's Sentencing
Guidelines calculations and the sentence it chooses to impose are not
error, although each party agrees to maintain its view that the
calculations in paragraph 16 are consistent with the facts of this
case. While this paragraph permits both the USAO and defendant to
submit full and complete factual information to the United States
Probation Office and the Court, even if that factual information may

be viewed as inconsistent with the facts agreed to in this agreement,

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this paragraph does not affect defendant's and the USAO’s obligations
not to contest the facts agreed to in this agreement.

32, Defendant understands that even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to the
maximum established by statute, defendant cannot, for that reason,
withdraw defendant's guilty plea, and defendant will remain bound to
fulfill all defendant's obligations under this agreement. Defendant
understands that no one -- not the prosecutor, defendant's attorney,
or the Court -- can make a binding prediction or promise regarding
the sentence defendant will receive, except that it will be within

the statutory maximum.

NO ADDITIONAL AGREEMENTS

 

33, Defendant understands that, except as set forth in any
other signed agreements filed with the Court, there are no promises,
understandings, or agreements between the USAO and defendant or
defendant's attorney, and that no additional promise, understanding,
or agreement may be entered into unless in a writing signed by all

parties or on the record in court.

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4 entire agreem ment had been read into the ecord or the croceeding
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22 agzeement, and l have carefully and thoroughly discussed every part
23 of it with my attorney. l understand the terms of this agreement,
34 and f voiuntarily agree to those terrs. l have discussed the
25 @'*jerco with my attorney, and my attorney has advised me of mv
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